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17                               UNITED STATES DISTRICT COURT
18                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
19                                       OAKLAND DIVISION
20    WHATSAPP LLC, and                 )
      META PLATFORMS INC.,              )          Case No. 4:19-cv-07123-PJH
21                                      )
                                        )
22                    Plaintiffs,       )          ADMINISTRATIVE MOTION TO
                                        )          CONSIDER WHETHER ANOTHER
23           v.                         )          PARTY’S MATERIAL SHOULD BE
                                        )          FILED UNDER SEAL
24    NSO GROUP TECHNOLOGIES LIMITED )
25    and Q CYBER TECHNOLOGIES LIMITED, )          Ctrm: 3
                                        )          Judge: Hon. Phyllis J. Hamilton
                                        )
26                    Defendants.       )
                                        )
27                                      )          Action Filed: October 29, 2019

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 1          TO ALL PARTIES AND THEIR COUNSEL OF RECORD:

 2          PLEASE TAKE NOTICE that, pursuant to Northern District of California Local Rules 7-11

 3   and 79-5(f), Plaintiffs WhatsApp LLC and Meta Platforms, Inc. move the Court to consider whether

 4   certain portions of Plaintiffs’ Reply in Support of Plaintiffs’ Motion to Strike the Second Supple-

 5   mental Rebuttal Expert Report of Gregory A. Pinsonneault (the “Motion to Strike”) and Exhibit A to

 6   the Declaration of Micah G. Block in Support of the Motion to Strike (collectively, the “Confidential

 7   Materials”) should be sealed.

 8          Defendants designated Exhibit A as “Highly Confidential—Attorneys’ Eyes Only” pursuant

 9   to the Stipulated Protective Order (Dkt. No. 132) in the above-captioned action. Plaintiffs, therefore,

10   must, under the terms of the Stipulated Protective Order, file the exhibit under seal and redact the

11   portions of the Motion to Strike that quote or reference the exhibit.

12          Accordingly, Plaintiffs now move the Court to consider whether the Confidential Materials

13   should be sealed. See N.D. Cal. Civil L.R. 79-5(f). Plaintiffs reserve the right to challenge any

14   confidentiality designations as well as the sealability of the materials at issue.

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     ADMINISTRATIVE MOTION TO CONSIDER WHETHER ANOTHER PARTY’S MATERIAL SHOULD BE FILED UNDER SEAL
     CASE NO. 4:19-CV-07123-PJH
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 1    Dated: January 23, 2025                    Respectfully Submitted,

 2
                                                 DAVIS POLK & WARDWELL LLP
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 4                                               By: /s/ Micah G. Block
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19                                                       Attorneys for Plaintiffs WhatsApp LLC and
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     CASE NO. 4:19-CV-07123-PJH
